Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 1 of 22 PageID #: 14




                         Exhibit B
                   Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 2 of 22 PageID #: 15
                                       Claim Chart for Schneider Electric USA, Inc.
                                                 U.S. Pat. No. 7,233,256

Schneider Electric’s 902 MHz Ceiling Mounted Occupancy Sensor
     US7233256 - Claim                                                      Evidence
 1. An activation system, The accused system is an activation system which activates an intrusion alarm. The system comprises
 comprising                 a receiving device (e.g., an optical device such as an optical filter or Lens) which receives an activation
 a receiving device (1) for signal (e.g., an IR signal).
 receiving an activation
 signal (SIGA);




                                https://www.schneider-electric.us/en/download/document/SDS-SED-CMS-U-5045-A4/
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 3 of 22 PageID #: 16
               Claim Chart for Schneider Electric USA, Inc.
                         U.S. Pat. No. 7,233,256




         https://download.schneider-electric.com/files?p_enDocType=Technical+leaflet&p_File_Name=SDS-
         SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 4 of 22 PageID #: 17
               Claim Chart for Schneider Electric USA, Inc.
                         U.S. Pat. No. 7,233,256




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         SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 5 of 22 PageID #: 18
               Claim Chart for Schneider Electric USA, Inc.
                         U.S. Pat. No. 7,233,256




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         SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 6 of 22 PageID #: 19
               Claim Chart for Schneider Electric USA, Inc.
                         U.S. Pat. No. 7,233,256




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         SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 7 of 22 PageID #: 20
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




         http://www.nutsvolts.com/magazine/article/light-sensitive-circuits
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 8 of 22 PageID #: 21
               Claim Chart for Schneider Electric USA, Inc.
                         U.S. Pat. No. 7,233,256




         https://learn.adafruit.com/pir-passive-infrared-proximity-motion-sensor/how-pirs-work
                  Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 9 of 22 PageID #: 22
                                     Claim Chart for Schneider Electric USA, Inc.
                                               U.S. Pat. No. 7,233,256




an activation circuit (4) for The accused system comprises an activation circuit (e.g., the hardware component of the accused
activating an electric circuit product which executes signal processing algorithm pertaining to motion detection) for activating an
(5); and                       electric circuit (e.g., an Alarm/LED circuit).
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 10 of 22 PageID #: 23
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 11 of 22 PageID #: 24
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 12 of 22 PageID #: 25
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 13 of 22 PageID #: 26
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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                   Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 14 of 22 PageID #: 27
                                         Claim Chart for Schneider Electric USA, Inc.
                                                   U.S. Pat. No. 7,233,256




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                                  SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4

at least one pyroelectric         The accused system comprises at least one pyroelectric element which is connected to the receiving
element (3) connected to the      device (e.g., an optical device such as an optical filter or Lens) and the activation circuit (e.g., the
receiving device (1) and the      hardware component of the accused product which executes signal processing algorithm pertaining to
activation circuit (4), said at   motion detection), said at least one pyroelectric element producing a voltage that actuates said
least    one      pyroelectric    activation circuit when heated by the activation signal (e.g., an IR signal) from said receiving.
element producing a voltage
that actuates said activation     When the accused system receives an IR signal (i.e., an intruder presence), pyroelectric elements get
circuit (4) when heated by        heated by IR radiation, so it generates sufficient voltage to actuate the activation circuit (e.g., the
the activation signal from        hardware component of the accused product which executes signal processing algorithms pertaining
said receiving device.            to motion detection) for activating an electric circuit (e.g., the alarm circuit/LED Circuit) to generate
                                  an alarm signal.
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 15 of 22 PageID #: 28
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 16 of 22 PageID #: 29
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 17 of 22 PageID #: 30
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 18 of 22 PageID #: 31
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 19 of 22 PageID #: 32
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256




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          SED-CMS-U-5045.pdf&p_Doc_Ref=SDS-SED-CMS-U-5045-A4
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 20 of 22 PageID #: 33
                 Claim Chart for Schneider Electric USA, Inc.
                           U.S. Pat. No. 7,233,256




          http://www.nutsvolts.com/magazine/article/light-sensitive-circuits
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 21 of 22 PageID #: 34
                 Claim Chart for Schneider Electric USA, Inc.
                           U.S. Pat. No. 7,233,256




          http://www.nutsvolts.com/magazine/article/light-sensitive-circuits
Case 1:19-cv-00736-UNA Document 1-2 Filed 04/24/19 Page 22 of 22 PageID #: 35
                Claim Chart for Schneider Electric USA, Inc.
                          U.S. Pat. No. 7,233,256
